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                                                                        1 of 23
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern
 ____________________             New York
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Grupo Aeroméxico, S.A.B. de C.V.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                                  N/A
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




      Debtor’s federal Employer
                                            N/A
 3.
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  243       Paseo de la Reforma
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                                  Piso 25
                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Mexico City                 Mexico     06500
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.aeromexico.com
                                              ____________________________________________________________________________________________________




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Debtor         Grupo Aeroméxico, S.A.B. de C.V.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                            A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                4__ __
                                               __    8_ __1_ _1_
 8.   Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor           Grupo Aeroméxico, S.A.B. de C.V.
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases          No
       filed by or against the debtor
       within the last 8 years?             Yes.    District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                           MM / DD / YYYY

 10.   Are any bankruptcy cases             No
       pending or being filed by a
                                           
                                           ■ Yes.            See Attached Schedule 1
                                                     Debtor _____________________________________________               Affiliate
                                                                                                          Relationship _________________________
       business partner or an
       affiliate of the debtor?                      District _____________________________________________ When                Date Hereof
                                                                                                                               __________________
       List all cases. If more than 1,                                                                                         MM / DD / YYYY
       attach a separate list.                       Case number, if known ________________________________



 11.   Why is the case filed in this       Check all that apply:
       district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have          No
       possession of any real               Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                       Other _______________________________________________________________________________



                                                    Where is the property?_____________________________________________________________________
                                                                              Number          Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________         _______ ________________
                                                                              City                                            State ZIP Code


                                                    Is the property insured?
                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________

                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




               Statistical and administrative information




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Debtor
               Grupo Aeroméxico, S.A.B. de C.V.
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
       (on a consolidated basis)          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
       (on a consolidated basis)          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
       (on a consolidated basis)          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            06   30 2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________
                                                                                                          Ricardo Javier Sánchez Baker
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Financial Officer
                                             Title _________________________________________




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                                           SCHEDULE 1

   On the date hereof, each of the affiliated entities listed below, including the debtor in this
   chapter 11 case (collectively, the "Debtors"), filed a petition with this Court for relief under
   chapter 11 of the Bankruptcy Code. Contemporaneously with the filing of their petitions, the
   Debtors filed a motion requesting that the chapter 11 cases of the entities listed below be
   consolidated for procedural purposes only and jointly administered pursuant to Rule 1015(b)
   of the Federal Rules of Bankruptcy Procedure.

            Company                       Date Filed                         District

   Aerovías de México, S.A.              June 30, 2020         Southern District Of New York
   de C.V.

   Aerolitoral, S.A.                     June 30, 2020         Southern District Of New York

   Aerovias Empresa de                   June 30, 2020         Southern District Of New York
   Cargo, S.A. de C.V.
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:                                                                  Chapter 11

   GRUPO AEROMÉXICO, S.A.B. de C.V.,                                       Case No. 20-[    ](_)
                         Debtor.
                                                                           (Joint Administration Pending)


              CORPORATE OWNERSHIP STATEMENT PURSUANT
       TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

   Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

   the following reflects the ownership interests in Grupo Aeroméxico, S.A.B. De C.V. The

   Debtors note that Delta Airlines, Inc. is the only entity which owns more than a 10%

   equity interest in Grupo Aeroméxico, S.A.B. De C.V.


                                    Shareholders                                   Shares
     Investors, Board members and stakeholders (1)                              145,341,967
     Delta Airlines, Inc.                                                       349,757,660
     Other shareholders                                                         187,020,166


     Total shares in circulation                                                682,119,793


     Treasury shares                                                             83,730,300

     Total Authorized shares                                                    765,850,093


     (1) Information on the number of shares is estimated.




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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:                                                        Chapter 11

   GRUPO AEROMÉXICO, S.A.B. de C.V., et                          Case No. 20-[      ](_)
   al.,
                     Debtors.1                                   (Joint Administration Pending)



                           CONSOLIDATED LIST OF CREDITORS
                         HOLDING FIVE LARGEST SECURED CLAIMS

             The following is a list of those creditors holding the five largest secured claims

   against the Debtors, on a consolidated basis, as of the Commencement Date. This list has

   been prepared from the books and records of the Debtors for filing in the Debtors’

   chapter 11 cases.

             The information set forth herein shall not constitute an admission of liability by,

   nor is binding on, the Debtors, nor shall it bind the Debtors or their estates as to the

   amount, nature and status of any claim. The failure to list or designate any claim as

   contingent, disputed or subject to set off, recharacterization or other challenge shall not

   be a waiver of any of the Debtors’ rights or defenses relating thereto.




   1
     The Debtors in these cases, along with the each Debtor’s registration number in the applicable
   jurisdiction, are as follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de Mexico, S.A. de C.V.
   108984; Aerolitoral, S.A. de C.V. 217315; Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The
   Debtors’ corporate headquarters is located at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc,
   Mexico City, C.P. 06500.




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                                              Name, telephone number and
                                           complete mailing address, including
                                                                                                       Type of
No.            Name of Creditor              zip code, of employee, agent, or     Amount of Claim
                                                                                                      Collateral
                                           department of creditor familiar with
                                               claim who may be contacted
                                        Deutsche Bank Trust Company
                                        Americas
                                        Trust & Agency Services
      Deutsche Bank Trust Company                                                                   Amex
1
      Americas
                                        60 Wall St, MS NYC60-1630                 $268,775,558.00
                                                                                                    Receivables
                                        New York, NY 10286
                                        deisilania.gomes@db.com
                                        Phone: 212-250-9170
                                        Deutsche Bank México, SA F/1748
                                        PEDREGAL 24 20
                                        Address Number 24
                                        Bdg Unit 20, Molino del Rey
                                                                                                    VMC
2     Deutsche Bank México, SA F/1748   Miguel Hidalgo                            $235,251,130
                                                                                                    Receivables
                                        Ciudad de México 11040
                                        Mexico
                                        alonso.rojas@db.com
                                        Phone: 52-81-5000-0200
                                        Crédit Agricole Corporate &
                                        Investment Bank, Tokyo Branch
                                        ATTN Agency & Middle Office
      Crédit Agricole Corporate &       1-9-2, Higashi-Shimbashi,
3
      Investment Bank, Tokyo Branch
                                                                                  $132,213,208      Fleet
                                        Minato-ku
                                        Tokyo 105-0021
                                        Japan
                                        Fax: 8134-580-5331
                                        Natixis, New York Branch
                                        Attn Urs Fishcer/Hanna Beckles/
                                        Yazmin Vasconez/Connie Moy
4     Natixis, New York Branch                                                    $126,089,077      Fleet
                                        1251 Ave Of The Americas, 5th Fl
                                        New York, Ny 10020
                                        adminagency@us.natixis.com
                                        Sumitomo Mitsui Banking
                                        Corporation, New York Branch
      Sumitomo Mitsui Banking           Attention: Shawn Powers
5                                                                                 $119,037,001      Fleet
      Corporation                       277 Park Avenue
                                        New York, NY 10172
                                        Fax: 212-918-1633
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       Fill in this information to Identify the case:

    Debtor Name: Grupo Aeroméxico, S.A.B. de C.V. et al.
                                                                                                                                           Check if this is an
    United States Bankruptcy Court for the:         Southern District of New York                                                          amended filing
    Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                            professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                            services, and         or disputed     setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if       Deduction          Unsecured
                                                                                                                  partially secured     for value of       claim
                                                                                                                                        collateral or
                                                                                                                                        setoff

   1       THE BANK OF NEW YORK MELLON          CONTACT: CORPORATE TR  INTERNATIONAL                                                                         $411,355,556.00
           ATTN: CORPORATE TR ADMIN             ADMIN                  ISSUANCE 2020
           240 GREENWICH STREET                 PHONE: 212-815-8273
           FLOOR 7 EAST                         FAX: 212-815-5875
           NEW YORK, NY 10286                   MIGUEL.BARRIOS@BNYMELL
                                                ON.COMJULIE.HOFFMAN-
                                                RAMOS@BNYMELLON.COM
                                                PETER.BAUMGAERTNER@HK
                                                LAW.COM

   2       AEROPUERTO INTERNACIONAL DE          CONTACT: FRANCISCO          TRADE PAYABLE                                                                     $61,950,676.00
           LA CIUDAD                            PARDO
           DE MEXICO SA DE CV                   PHONE: 52 (55) 2482-2424
           AV CAPITAN CARLOS LEON SN            FPARDO@AICM.COM.MX
           PENON DE LOS BANOS,
           VENUSTIANO CARRANZA
           CDMX 15620 MEXICO
   3       BANCO BILBAO VIZCAYA                 CONTACT: GENERAL            GUARANTEE                                                                         $25,719,330.00
           ARGENTARIA, S.A.                     COUNSEL                     HERMES
           AV PASEO DE LA REFORMA 243           PHONE: 34 91 537 79 54
           COLONIA CUAUHTEMOC,                  MARIA.ZOTES@BBVA.COM ;
           DELEGACION CUAUHTEMOC                ECA.STRUCTURING@BBVA.C
           DISTRITO FEDERAL 06500 MEXICO        OM

   4       HSBC MEXICO SA                       CONTACT: GENERAL            GUARANTEE EXIM                                                                    $17,035,285.00
           PASEO DE LA REFORMA 347, 18TH        COUNSEL                     BANK
           FL                                   PHONE: 52 (55) 5721-5978
           COL. CUAUHTEMOC                      CECILIA.STETA@HSBC.COM.
           MEXICO CITY 06500                    MX
           MEXICO




Official Form 204          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                     Page 1
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  Debtor: Grupo Aeroméxico, S.A.B. de C.V. et al.                       11 of 23     Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

   5    AEROPUERTOS Y SERVICIOS            CONTACT: ROSA MARIA         TRADE PAYABLE                                                                     $16,184,197.00
        AUXILIARES                         DAVILA MORALES
        AV 602 NO 161                      PHONE: 52 (55) 5133 1000
        SAN JUAN DE ARAGON                 MAM.COMERCIAL@ASA.GO
        VENUSTIANO CARRANZA                B.MX
        CDMX 15620 MEXICO
   6    TESORERIA DE LA FEDERACION         CONTACT: JORGE              TAXES                                                                             $14,882,399.00
        DOMICILIO CONOCIDO                 ARMENDARIZ JIMENEZ
        DISTRITO FEDERAL                   PHONE: 618 118 7017
        CDMX                               JARMEND@IMT.MX
        MEXICO MEXICO
   7    WORLD FUEL SERVICES                CONTACT: JUAN PINTO         TRADE PAYABLE                                                                     $10,344,391.00
        AVENIDA LIBERTAD 1405 OF 1302      PHONE: 569 322689200
        VINA DEL MAR 1111111               JPINTO@WFSCORP.COM
        BRASIL
   8    GENERAL ELECTRIC                   CONTACT: ALAN FRETWELL      TRADE PAYABLE                                                                      $9,189,203.00
        3135 EASTON TURNPIKE               PHONE: 513-479-9428
        FAIRFIELD, CT 06828                ALAN.FRETWELL@GE.COM
   9    PANASONIC AVIONICS                 CONTACT: JOSE MARTINEZ      TRADE PAYABLE                                                                      $8,324,902.00
        CORPORATION                        PHONE: 949-462-1943
        3303 MONTE VILLA PARKWAY           JOSER.MARTINEZ@PANASO
        BOTHELL, WA 98021                  NIC.AERO
   10   BANCO BILBAO VIZCAYA               CONTACT: GENERAL            SHORT TERM LOAN                                                                    $7,943,114.00
        ARGENTARIA, S.A.                   COUNSEL
        NIEDERLASSUNG DEUTSCHLAND          MARIA.ZOTES@BBVA.COM ;
        NEUE MAINZER STRASSE 28            ECA.STRUCTURING@BBVA.C
        60311 FRANKFURT AM MAIN            OM
        GERMANY
   11   CREDIT AGRICOLE CORPORATE AND      CONTACT: THOMAS JEAN   TRADE PAYABLE                                                                           $6,404,527.00
        INVESTMENT BANK TOKYO BRANCH       PHONE: 12 122617067
        1 9 2 HIGASHI SHIMBASHI            THOMAS.JEAN@CA-CIB.COM
        TOKYO
        MINATO KU 1050021 JAPAN

   12   BOEING                             CONTACT: ERIKA ZAVALA   TRADE PAYABLE                                                                          $5,684,079.00
        100 N RIVERSIDE PLAZA MC 5003-     PHONE: 52 8125595386
        4549                               SALES.MEXICO@BOEINGDIST
        CHICAGO, IL 60606                  RIBUTION.COM
   13   AEROPUERTO DE GUADALAJARA SA       CONTACT: DANIEL OSVALDO TRADE PAYABLE                                                                          $5,211,109.00
        DE CV                              ARELLANO
        AV SOLIDARIDAD IBEROAMERICANA      PHONE: 3336714582
        KM 17 12                           DARELLANOS@AEROPUERTO
        TLAJOMULCO DE ZUNIGA               SGAP.COM.MX
        JALISCO
        TLAJOMULCO DE ZUNIGA 45659
        MEXICO
   14   NORDIC AVIATION CAPITAL            CONTACT: MIKE FITZGERALD    TRADE PAYABLE                                                                      $5,160,868.00
        ATTN: CHIEF CONTRACT OFFICER       PHONE: 45 7651 1200
        STRATUSVEJ 12                      NAC@NAC.DK
        BILLUND 7190
        DENMARK




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 2
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  Debtor: Grupo Aeroméxico, S.A.B. de C.V. et al.                       12 of 23     Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if       Deduction          Unsecured
                                                                                                             partially secured     for value of       claim
                                                                                                                                   collateral or
                                                                                                                                   setoff

   15   AEROPUERTO DE MONTERREY SA         CONTACT: ABIGAIL CAMPOS     TRADE PAYABLE                                                                      $5,058,384.00
        DE CV                              MEDINA
        DOM CONOCIDO CARR MIGUEL           PHONE: 52 81 8625.4300
        ALEMAN SN                          ACAMPOS@OMA.AERO
        CENTRO DE APODACA NUEVO LEON
        MEXICO
        NUEVO LEON
        MONTERREY 66600 MEXICO
   16   HSBC BANK USA, N.A.                CONTACT: DANIELA            GUARANTEE EXIM                                                                     $5,045,129.00
        ATTN: DANIELA ALVARADO             ALVARADO                    BANK
        AILEEN CHUA                        PHONE: 212-252-2482
        452 FIFTH AVENUE                   DANIELA.ALVARADO@US.HS
        NEW YORK, NY 20018                 BC.COM ;
                                           AILEEN.L.CHUA@US.HSBC.C
                                           OM ;
                                           CARLA.G.CAMPO@US.HSBC.
                                           COM
   17   CITIBANK, NA                       CONTACT: PAUL JOSEPH        GUARANTEE EXIM                                                                     $4,829,251.00
        ATTN: PAUL JOSEPH                  PHONE: 813-604-4724         BANK
        3800 CITIGROUP CENTER DRIVE        PAUL.O.JOSEPH@CITI.COM
        TAMPA, FL 33610
   18   SMBC AVIATION CAPITAL LIMITED      CONTACT: FEDERICO           TRADE PAYABLE                                                                      $4,468,777.00
        IFSC HOUSE IFSC DIBLIN 1 IRELAND   PASCUAL
        DUBLIN                             PHONE: 353 1 859 9000
        DUBLIN                             FEDERICO.PASCUAL@SMBC.
        IRLANDA IRELAND                    AERO
   19   IBM CAPITAL MEXICO 1 S DE RL DE    CONTACT: JOSE RAMON         LONG TERM LOAN                                                                     $4,367,664.00
        CV                                 GARCIA
        ATTN: JOSE RAMON GARCIA            PHONE: 5270 3095
        ALFONSO NAPOLES GANDARA 3111       RASTUDIL@MX1.IBM.COM
        PENA BLANCA SANTA FE
        CIUDAD DE MEXICO 01210 MEXICO

   20   CELESTIAL AVIATION TRADING         CONTACT: FIONA CONNOLLY     TRADE PAYABLE                                                                      $4,334,100.00
        AVIATION HOUSE SHANON              PHONE: 353 61706684
        SHANNON                            FIONA.CONNOLLY@GECAS.C
        IRELAND IRELAND                    OM

   21   ASOCIACION SINDICAL DE PILOTOS     CONTACT: ARTURO             UNION                                                                              $3,375,738.00
        AVIADORES                          MALIACHI
        PALOMAS 110 1ER PISO REFORMA       ARTURO.MALIACHI@ASPA.O
        SOCIAL                             RG.MX
        CDMX, MIGUEL HIDALGO, 11650
        11650
        MEXICO
   22   AIR LEASE CORPORATION              CONTACT: CHIEF FINANCIAL    TRADE PAYABLE                                                                      $3,228,871.00
        2000 AVENUE OF THE STARS 1000N     OFFICER
        CALIFORNIA                         PHONE: 310-553-0555
        LOS ANGELES, CA 90067              INFO@AIRLEASECORP.COM
   23   GRUPO TELVISTA SA DE CV            CONTACT: KAREN ARRIAGA  TRADE PAYABLE                                                                          $2,409,986.00
        BLV AGUA CALENTE 11606             PHONE: 5130 0600
        AVIACION TIJUANA                   KAREN_ARRIAGA@TELVISTA.
        BAJA CALIFORNIA                    COM
        TIJUANA 22420 MEXICO




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                    Page 3
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  Debtor: Grupo Aeroméxico, S.A.B. de C.V. et al.                      13 of 23     Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

   24   SABRE GROUP INC                    CONTACT: CHRIS POWERS      TRADE PAYABLE                                                                      $2,400,000.00
        3150 SABRE DRIVE                   PHONE: 817-584-0887
        MAIL DROP 8510 SOUTHL              CHRIS.POWERS@SABRE.CO
        CHICAGO, IL 60693                  M
   25   MTU MAINTENANCE                    CONTACT: MAREK FRIEDRICH TRADE PAYABLE                                                                        $2,309,021.00
        STRAWINWINSHYLAAN 1639,            PHONE: 31 (0) 207052592
        1077XX                             MAREK.FRIEDRICH@MTU-
        AMSTERDAM                          LEASE-SERVICES.COM
        NETHERLANDS
   26   WILMINGTON TRUST COMPANY           CONTACT: CHIEF FINANCIAL TRADE PAYABLE                                                                        $2,161,899.00
        345 MAIN ST                        OFFICER
        ONE M&T PLAZA                      PHONE: 302-651-1000
        7TH FLOOR                          RRITROVATO@WILMINGTON
        BUFFALO, NY 14203                  TRUST.COM
   27   AEROPUERTO DE CANCUN SA DE CV      CONTACT: ALICIA ISABEL     TRADE PAYABLE                                                                      $2,076,290.00
        KM 22 CARR CANCUNCHETUMAL          GUZMAN CORTES
        MUNICIPIO BENITO JUAREZ            PHONE: 52-99-8848-7200
        QUINTANA ROO                       AGUZMAN@ASUR.COM.MX
        CANCUN 77500 MEXICO

   28   ORACLE DE MEXICO SA DE CV          CONTACT: YUGLAL KUMAR      TRADE PAYABLE                                                                      $1,813,758.00
        MONTES URALES 470 PB               PHONE: 553 300 6913
        LOMAS DE CHAPULTEPEC               YUGLAL.KUMAR@ORACLE.C
        MIGUEL HIDALGO                     OM
        CDMX 11710 MEXICO
   29   ENTSERV ENTERPRISE SERVICES        CONTACT: ELIZABETH     TRADE PAYABLE                                                                          $1,680,744.00
        MEXICO S DE RL DE CV               MORENO
        AV PROLONGACION PASEO DE LA        PHONE: 703-245-9700
        REFORMA 700                        ELIZABETH.MORENO@DXC.C
        LOMAS DE SANTA FE, ALVARO          OM
        OBREGON
        CDMX 1210 MEXICO
   30   US DEPARTMENT OF                   CONTACT: MICHELLE          TRADE PAYABLE                                                                      $1,616,478.00
        TRANSPORTATION FAA                 LEISSNER
        6500 S MACARTHUR BOULEVARD         PHONE: 405-954-9559
        6500 S MACARTHUR BOULEVARD         FAX: 202-267-3227
        OKLAHOMA, OK 73169                 9-AMC-AMZ-OVERFLIGHT-
                                           FEES@FAA.GOV




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 4
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 Fill in this information to identify the case and this filing:

               Grupo Aeroméxico, S.A.B. de C.V.
 Debtor Name __________________________________________________________________
                                            Southern                         New York
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         x
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         x    Other document that requires a          Corporate Ownership Statement, Top Five Secured Creditor List
              declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     06/30/2020
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                        Signature of individual signing on behalf of debtor



                                                                  Ricardo Javier Sánchez Baker
                                                                 ________________________________________________________________________
                                                                 Printed name

                                                                  Chief Financial Officer
                                                                 ______________________________________
                                                                 Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
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